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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    AUGUSTA DIVISION




UNITED STATES OF AMERICA

V.                                                  CRll7-047


LOUQUANA DAVIS




                                          ORDER


       The defendant, Louquana Davis, was sentenced by this court on April 30, 2018 and is

now in the custody of the Bureau of Prisons, Surety, Louise S. Davis, has requested the return of

the $2,000.00 cash security posted on the defendant's $20,000.00 bond.

       IT IS HEREBY ORDERED that the cash collateral in the amount of $2,000.00 posted

by surety for the defendant, plus all accrued interest thereon, be returned to Louise S. Davis at
2901 Jeanne Road, Augusta, Georgia 30906.

       This //^ay of July, 2018 at Augusta, Georgia.


                                                    J. RANimL HALL,CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF GEORGIA
